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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY




UNITED STATES OF AMERICA :                     Hon. Katharine S. Hayden

              v.                    :          Crim. No. 09-584 (KSH)

Salvador Parra                      :
                                                SCHEDULING ORDER



              Counsel jointly having requested that the Court issue a tentative trial and

briefing schedule in this matter,

              IT IS on this 6th day of May, 2010,

              ORDERED that trial in this matter is set for July 13, 2010 at 9:00 a.m.

Response to the pending motions shall be filed on or before June 14, 2010, and oral

argument is scheduled for June 29, 2010 at 2:00 p.m.



                                              /s/ Katharine S. Hayden
                                              Katharine S. Hayden
                                              United States District Judge
